Case 4:19-cr-00116-O Documentl Filed 02/16/19 l

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IN THE UNITED STATES DISTRICT (
FOR THE NORTHERN DISTRICT OF
FORT WORTH DIVISION

 

  

UNITED STATES OF AMERICA

 

 

 

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NO. 4:19-Mi- l iad

V.

OSCAR OREGEL SR. (Ol)
NOE GARCIA (02) §

 

CRll\/IINAL COMPLAINT

I, Richard Martinez, being duly sworn hereby depose and say the following is true
and correct to the best of my knowledge and belief:

On or about February 15, 2019, in the Fort Worth Division of the Northern District
of Texas, the defendants, Oscar Oregel Sr., and Noe Garcia, did knowingly and
intentionally possess with intent to distribute four-kilograms of a mixture and substance
containing a detectable amount of heroin, a schedule I controlled substance, in violation
of21 U.S.C. §§ 84l(a)(l) & (b)(l)(B) and 18 U.S.C. § 2.

I, Richard Martinez, am a Special Agent with the Drug Enforcement

l Administration at the Dallas District Offlce. The statements contained in this Complaint
are based in part on my personal observations and knowledge of this investigation, and
on information provided by other law enforcement members with the DEA.

l. On February 14, 2019, a Hispanic male identifying himself as Oscar Oregel, Sr.
called DEA Dallas Field Division Duty Special Agent Chris Slagh in reference to drug
trafficking information On February 15, 2019, Oregel, Sr. arrived at the DEA Field

Division Office in Dallas, Texas and met with DEA Group Supervisor Joseph Tucker,

Special Agent Slagh, and Task Force Officer Seiuli Gordon.

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2. Oregel, Sr. stated that he had approximately four kilograms of heroin at his
residence that he wished to relinquish custody to DEA Dallas personnel. Oregel, Sr.
further stated that the courier of the heroin would be at his residence located at [redacted]
Grindstone Court in Arlington, Tarrant County, T@exas which is located in the Northern

District of Texas.

3. DEA personnel traveled to [redacted] Grindstone Court in Arlington, Texas and
met with Oscar Oregel, Sr., Oscar Oregel, Jr. and Noe Garcia. Oregel, Sr. invited
DEA personnel inside the residence Oregel, Sr.`*relinquished custody of a bag
containing four packages containing an off-white powder substance purported to be
heroin. Oregel ,Sr. also stated that he had a firearm in the residence Oregel, Sr. signed
a consent to search form allowing DEA personnel to search his residence Oregel, Sr.

informed DEA personnel where the firearm was located; DEA personnel learned that

there were actually three firearms inside the residence and secured the firearms

4. DEA personnel learned that Oregel, Sr. originally had approximately five
kilograms of suspected heroin in his possession pfior to contacting the DEA. After
receiving his Miranda warnings by your affiant, Oregel, Sr. agreed to answer questions.
Oregel, Sr. stated that the previous week, he and Noe Garcia traveled from Arlington,
Texas to Flagstaff, Arizona and picked up five kilograms of heroin and returned to

Arlington, Texas on February 14, 2019. Oregel, Sr. stated that while he was in Arlington

and prior to contacting DEA, he sold one kilogram of heroin to an unknown Hispanic

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male courier from Atlanta, Georgia on February 14, 2019. Oregel, Sr. stated that all five

kilograms of heroin were to be delivered to Atlanta, Georgia.

5. On February 15, 2019, your affiant administered Miranda warnings to Noe
Garcia. Garcia also agreed to answer questions. Garcia stated that he and Oregel, Sr.
had traveled from Arlington, Texas to Flagstaff, §rizona and picked up five kilograms of
an unknown controlled substance and returned to'Arlington, Texas. Garcia stated that
Oregel, Sr. was going to pay him $5,000.00 to continue to transport the five kilograms to

Atlanta, Georgia.

6. DEA personnel seized approximately four kilograms of an off-white powder
substance that was purported to be heroin. DEA personnel conducted a presumptive test

on the off-white powder substance, and it tested positive for the presence of heroin.

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7. Although I have not listed all the facts regarding this seizure of` heroin, I believe
that the facts stated here establish probable cause that the defendants have committed a
violation of21 U.S.C. §§ 84l(a)(l) and (b)(l)(B) and 18 U.S.C. § 2, possession ofa

controlled substance with intent to distribute ~

 

Richard Martinez /
Special Agent
Drug Enforcement Administration

Sw rn to before me and subscribed in my presence, l (O'\li/ day of February 2019,

at /1/ “ p.m. in Fort Worth, Texas. w

HAL R RAY, JR.
United States Magistrate Judge

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